
6 N.Y.2d 964 (1959)
Abe Cooper-Syracuse, Inc., Respondent-Appellant,
v.
State of New York, Appellant-Respondent. (Claim No. 33795.) (Action No. 1.)
Abe Cooper-Syracuse, Inc., Respondent,
v.
State of New York, Appellant. (Claim No. 33861.) (Action No. 2.)
Court of Appeals of the State of New York.
Argued May 21, 1959.
Decided July 8, 1959.
Louis J. Lefkowitz, Attorney-General (Julius L. Sackman and Paxton Blair of counsel), for appellant.
Saul H. Alderman for respondent.
Concur: Chief Judge CONWAY and Judges DESMOND, DYE, FULD, FROESSEL, VAN VOORHIS and BURKE.
In action No. 1: Judgment affirmed, without costs; no opinion.
In action No. 2: Judgment affirmed, with costs; no opinion.
